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                                               L.B.F. 3015.1-1

                                 UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF PENNSYLVANIA

In re:                                             Case No.:        17-13119AMC13
Barry & Phyliss Hylton
                                                   Chapter:        13

                    Debtor(s)
                                           Chapter 13 Plan

             Original
                   X       Amended

Date:     2/15/18

                                THE DEBTOR HAS FILED FOR RELIEF UNDER
                                 CHAPTER 13 OF THE BANKRUPTCY CODE

                                    YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the actual
Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss them with
your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN MUST FILE A
WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-5.
This Plan may be confirmed and become binding, unless a written objection is filed.

                     IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                    MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                 NOTICE OF MEETING OF CREDITORS.

 Part 1: Bankruptcy Rule 3015.1 Disclosures

           Plan contains non-standard or additional provisions – see Part 9
           Plan limits the amount of secured claim(s) based on value of collateral
           Plan avoids a security interest or lien

 Part 2: Payment and Length of Plan


         § 2(a)(1) Initial Plan:
            Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $ ______________
             Debtor shall pay the Trustee $ _________ per month for ____ months; and
             Debtor shall pay the Trustee $ _________ per month for ____ months.
            Other changes in the scheduled plan payment are set forth in § 2(d)

      § 2(a)(2) Amended Plan:
          Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $ 188,614
      The Plan payments by Debtor shall consists of the total amount previously paid ($16,000)
 added to the new monthly Plan payments in the amount of $3,192 beginning February 2018
 (date) for ___1__months and $3,322 X 51 months from March 2018 through May 2022.
         Other changes in the scheduled plan payments are set forth in § 2(d)
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      § 2(b) Debtor shall make plan payments to the Trustee from the following sources in addition to
 future wages (Describe source, amount and date when funds are available, if known):


      § 2(c) Use of real property to satisfy plan obligations:
             Sale of real property
           See § 7(c) below for detailed description

             Loan modification with respect to mortgage encumbering property:
             See § 7(d) below for detailed description

      § 2(d) Other information that may be important relating to the payment and length of Plan:



 Part 3: Priority Claims (Including Administrative Expenses & Debtor’s Counsel Fees)


     § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full
 unless the creditor agrees otherwise:

  Creditor                               Type of Priority                       Estimated Amount to be Paid


        Cibk & Cataldo, PC                   Counsel Fees                         $5,500

        PA Dept. of Revenue                  Taxes                                $514.46
        City of Philadelphia                 Taxes                                $114.17




      § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid
 less than full amount.

          X None. If “None” is checked, the rest of § 3(b) need not be completed.

           The allowed priority claims listed below are based on a domestic support obligation that has been
  assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim. This plan
  provision requires that payments in § 2(a) be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).


   Name of Creditor                                          Amount of claim to be paid
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 Part 4: Secured Claims


      § 4(a) Curing Default and Maintaining Payments
          None. If “None” is checked, the rest of § 4(a) need not be completed.
      The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and,
  Debtor shall pay directly to creditor monthly obligations falling due after the bankruptcy filing.

   Creditor              Description of         Regular Monthly           Estimated Interest Rate          Amount to be
                         Secured                Payment to be             Arrearage on Arrearage,          Paid to
                         Property and           paid directly to                    if applicable          Creditor by
                         Address, if real       creditor by                                                the Trustee
                         property               Debtor
  Santander             2011 Kia Sorento      $503.58                    $45.19                           $45.19

  Nationstar            6833 Broad Street     $729.34                    $17,147.80                       $17,147.80


  US Bank Nat’l         6249 Broad Street     $607.96                    $1,106.68                        $1,106.68

  US Bank Nat’l         2425 78th             $674.68                    $842.19                          $842.19

  WSFS (Selene)         6906 Lincoln          $2,551.98                  $30,178.54                       $30,178.54

                                              Per agreement- Post-
  WSFS (Selene)         6909 Lincoln          Petition                                                    $5,967.82

  Deutsche              8346 Michener         $1034.75                   $19,684.68                       $19,684.68

  Deutsche              6259 Broad            $1,054.77                  $3,260.46                        $3,260.46

       § 4(b) Allowed Secured Claims to be Paid in Full: Based on Proof of Claim or Pre-
 Confirmation Determination of the Amount, Extent or Validity of the Claim
         None. If “None” is checked, the rest of § 4(b) need not be completed.
        (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion of
 payments under the plan.

            (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to
 determine the amount, extent or validity of the allowed secured claim and the court will make its determination
 prior to the confirmation hearing.

          (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general
 unsecured claim under Part 5 of the Plan or (B) as a priority claim under Part 3, as determined by the court.

           (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
 § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different
 interest rate or amount for “present value” interest in its proof of claim, the court will determine the present value
 interest rate and amount at the confirmation hearing.

         (5) Upon completion of the Plan, payments made under this section satisfy the allowed
 secured claim and release the corresponding lien.

                            Description of
   Name of Creditor         Secured Property            Allowed           Present      Dollar Amount        Total
                            and Address, if real        Secured           Value        of Present           Amount to
                            property                    Claim             Interest     Value Interest       be paid
                                                                          Rate
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 CitiMortgage
                           7440 Fayette         $28,827.60   8.50   $28,827.60   $28,827.60
 Westlake
                           2006 BMW             $6,124.14    6.25   $6,124.14    $7,147.80
 City of Phila
 (Excluding 2424 W 78th-
 being surrendered)        All Properties       $49,345.54   n/a    $49,345.54   $49,880.80
 City of Phila             All Properties       $48,194.69   6.90   $48,194.69   $55,903.80
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        § 4(c) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506
             None. If “None” is checked, the rest of § 4(c) need not be completed.

        The claims below were either (1) incurred within 910 days before the petition date and secured by a
   purchase money security interest in a motor vehicle acquired for the personal use of the debtor(s), or (2)
   incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing
   of value.

          (1) The allowed secured claims listed below shall be paid in full and their liens retained until completion
   of payments under the plan.

            (2) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
   § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different
   interest rate or amount for “present value” interest in its proof of claim, the court will determine the present value
   interest rate and amount at the confirmation hearing.

   Name of Creditor            Collateral         Amount of          Present Value      Estimated total payments
                                                  Claim              Interest

   Hyundai                     15 Optima          $21,828.24                    %       $0 (Direct pay)

                                                                                %       $


        § 4(d) Surrender
             None. If “None” is checked, the rest of § 4(d) need not be completed.

              (1) Debtor elects to surrender the secured property listed below that secures the creditor’s claim.

             (2) The automatic stay under 11 U.S.C. § 362(a) with respect to the secured property terminates upon
 confirmation
         of the Plan.

              (3) The Trustee shall make no payments to the creditors listed below on their secured claims.

  Creditor                                                     Secured Property



        Deutsche Bank (Claim #12)                                2424 W. 78th St. Phila, PA
        City of Phila (Portion of claim #16)                     2424 W. 78th St. Phila, PA


  Part 5: Unsecured Claims

        § 5(a) Specifically Classified Allowed Unsecured Non-Priority Claims
             X None. If “None” is checked, the rest of § 5(a) need not be completed.

                              Basis for Separate
  Creditor                    Classification            Treatment                    Amount of            Amount to
                                                                                     Claim                be paid
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         § 5(b) All Other Timely Filed, Allowed General Unsecured Claims

              (1) Liquidation Test (check one box)

                    All Debtor(s) property is claimed as exempt.

                    Debtor(s) has non-exempt property valued at $1,358.03 for purposes of § 1325(a)(4)


               (2) Funding: § 5(b) claims to be paid as follows (check one box):

                    Pro rata
                    X100%
                    Other (Describe)


  Part 6: Executory Contracts & Unexpired Leases

           X None. If “None” is checked, the rest of § 6 need not be completed.

   Creditor                              Nature of Contract or Lease            Treatment by Debtor Pursuant to §365(b)




  Part 7: Other Provisions


        § 7(a) General Principles Applicable to The Plan

        (1) Vesting of Property of the Estate (check one box)
                     Upon confirmation
                     Upon discharge

       (2) Unless otherwise ordered by the court, the amount of a creditor’s claim listed in its proof of
 claim controls over any contrary amounts listed in Parts 3, 4 or 5 of the Plan.

        (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under §
 1326(a)(1)(B),(C) shall be disbursed to the creditors by the Debtor directly. All other disbursements to
 creditors shall be made by the Trustee.

          (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which Debtor is the
 plaintiff, before the completion of plan payments, any such recovery in excess of any applicable exemption will be paid
 to the Trustee as a special Plan payment to the extent necessary to pay priority and general unsecured
 creditors, or as agreed by the Debtor and the Trustee and approved by the court.
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       § 7(b) Affirmative Duties on Holders of Claims secured by a Security Interest in Debtor’s
 Principal Residence

         (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such
 arrearage.

          (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage
 obligations as provided for by the terms of the underlying mortgage note.

         (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole
 purpose of precluding the imposition of late payment charges or other default-related fees and services based on
 the pre-petition default or default(s). Late charges may be assessed on post-petition payments as provided by the
 terms of the mortgage and note.

         (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the
 Debtor pre-petition, and the Debtor provides for payments of that claim directly to the creditor in the Plan, the
 holder of the claims shall resume sending customary monthly statements.

         (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon
 books for payments prior to the filing of the petition, upon request, the creditor shall forward post-petition coupon
 book(s) to the Debtor after this case has been filed.

        (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon
 books as set forth above.

        § 7(c) Sale of Real Property
           X None. If “None” is checked, the rest of § 7(c) need not be completed.

         (1) Closing for the sale of                                  (the “Real Property”) shall be completed
  within      months of the commencement of this bankruptcy case (the “Sale Deadline”). Unless otherwise
 agreed by the parties or provided by the Court, each allowed claim secured by the Real Property will be paid in full
 under §4(b)(1) of the Plan at the closing (“Closing Date”).

          (2) The Real Property will be marketed for sale in the following manner and on the following terms:




          (3) Confirmation of this Plan shall constitute an order authorizing the Debtor to pay at settlement all
 customary closing expenses and all liens and encumbrances, including all § 4(b) claims, as may be necessary to
 convey good and marketable title to the purchaser. However, nothing in this Plan shall preclude the Debtor from
 seeking court approval of the sale of the property free and clear of liens and encumbrances pursuant to 11 U.S.C.
 §363(f), either prior to or after confirmation of the Plan, if, in the Debtor’s judgment, such approval is necessary or
 in order to convey insurable title or is otherwise reasonably necessary under the circumstances to implement this
 Plan.

        (4) Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours of the
 Closing Date.

        (5) In the event that a sale of the Real Property has not been consummated by the expiration of the Sale
 Deadline:
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         § 7(d) Loan Modification
            X None. If “None” is checked, the rest of § 7(d) need not be completed.

         (1) Debtor shall pursue a loan modification directly with                      or its successor in interest or its
  current servicer (“Mortgage Lender”), in an effort to bring the loan current and resolve the secured arrearage claim.
         (2) During the modification application process, Debtor shall make adequate protection payments directly to
 Mortgage Lender in the amount of $ per month, which represents (describe basis of adequate protection
 payment). Debtor shall remit the adequate protection payments directly to the Mortgage Lender.


        (3) If the modification is not approved by              (date), Debtor shall either (A) file an amended Plan to
 otherwise provide for the allowed claim of the Mortgage Lender; or (B) Mortgage Lender may seek relief from the
 automatic stay with regard to the collateral and Debtor will not oppose it.

 Part 8: Order of Distribution


 The order of distribution of Plan payments will be as follows:

       Level 1: Trustee Commissions*
       Level 2: Domestic Support Obligations
       Level 3: Adequate Protection Payments
       Level 4: Debtor’s attorney’s fees
       Level 5: Priority claims, pro rata
       Level 6: Secured claims, pro rata
       Level 7: Specially classified unsecured claims
       Level 8: General unsecured claims
       Level 9: Untimely filed, allowed general unsecured claims

 *Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States
 Trustee not to exceed ten (10) percent.



 Part 9: Non Standard or Additional Plan Provisions

     X None. If “None” is checked, the rest of § 9 need not be completed.
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   Under Bankruptcy Rule 3015(c), nonstandard or additional plan provisions are required to be set forth in Part
 9 of the Plan. Such Plan provisions will be effective only if the applicable box in Part 1 of this Plan is checked.
 Any nonstandard or additional provisions set out other than in Part 9 of the Plan are VOID. By signing below,
 attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no nonstandard or additional
 provisions other than those in Part 9 of the Plan.




 Date: 2/15/18                                                   s/ Michael A. Cataldo
                                                              Attorney for Debtor(s)




         If Debtor(s) are unrepresented, they must sign below.



 Date:
                                                              Debtor


 Date:
                                                              Joint Debtor
